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                   IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )
                     v.                        )      Case No. 3:23-cr-0064
                                               )
KAMOY KING,                                    )
                                               )
                     Defendant.                )

                                           ORDER
       BEFORE THE COURT is the Government’s unopposed Motion to Continue Trial Date
and Toll Time under the Speedy Trial Act. (ECF No. 64.) For the reasons stated herein, the
Court will continue the trial in this matter until September 9, 2024. The Court finds that the
time beginning from the date of this Order through September 9, 2024, shall be excluded in
computing the time within which the trial in this matter must be initiated.
       On September 1, 2023, the Government filed a complaint charging Defendant with
violations of 8 U.S.C. § 1324(a)(1)(A)(i) (Alien Smuggling) and 18 U.S.C. § 2237(a)(1) (Failure
to Heave To). On September 29, 2023, the Government �iled an Information, charging
Defendant with violations of 8 U.S.C. § 1324(a)(2)(B)(ii) and 18 U.S.C. § 2237(a)(1). On
December 19, 2023, an Indictment was returned charging Defendant with four counts of
Bringing Aliens to the United States, in violation of 8 U.S.C. § 1324(a)(2)(B)(iii), and one
count of Failure to Heave, in violation of 18 U.S.C. § 2237(a)(1). Defendant was arraigned on
December 27, 2023.
       The Government seeks a continuance because its case relies heavily on the testimony
of a material witness, Nilda Heredia (“Heredia”), who is currently unreachable, after the U.S.
Office of Probation reported on March 22, 2024, that she was no longer residing with her
appointed third-party custodian. According to the Government, multiple contacts by the
probation officer in New Jersey to contact her have been unsuccessful. The Government
requests an additional 60 days to locate and secure Heredia’s testimony.
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       While the Speedy Trial Act (the “Act”) requires that defendants be tried within
seventy days of indictment, the Act specifically excludes:
       [a]ny period of delay resulting from a continuance granted by any judge on his
       own motion or at the request of the defendant or his counsel or at the request
       of the attorney for the Government, if the judge granted such continuance on
       the basis of his findings that the ends of justice served by taking such action
       outweigh the best interest of the public and the defendant in a speedy trial.
18 U.S.C. § 3161(h)(1)(A). Consistent with these concerns, the United States Court of Appeals
for the Third Circuit has recognized that “whether or not a case is ‘unusual’ or ‘complex,’ an
‘ends of justice’ continuance may in appropriate circumstances be granted.” United States v.
Fields, 39 F.3d 439, 444 (3d Cir. 1994); United States v. Green, No. CRIM.A. 08-44, 2011 WL
1877299, at *5 (E.D. Pa. May 16, 2011), aff'd, 516 F. App'x 113 (3d Cir. 2013) (finding that a
delay needed for the Government to secure a witness was excludable from the Speedy Trial
Act calculation under “18 U.S.C. § 3161(h)(3)(A) (excluding ‘[a]ny period of delay resulting
from the absence or unavailability of the defendant or an essential witness’)”).
       The Court finds that the ends of justice served by extending the period in which the
trial must begin in this matter outweigh the best interest of the public and the defendant in
a speedy trial. Here, an extension of time is necessary to allow the Government to secure the
attendance of its material witness at trial. The premises considered, it is hereby
       ORDERED that the Government’s Motion to Continue Trial Date and Toll Time under
the Speedy Trial Act, ECF No. 64, is GRANTED; it is further
       ORDERED that the time beginning from the date of this order granting an extension
through September 9, 2024, shall be excluded in computing the time within which the trial
in this matter must be initiated pursuant to 18 U.S.C. § 3161; it is further
       ORDERED that the parties SHALL file their respective notices of readiness for trial
no later than August 30, 2024; it is further
       ORDERED that the parties SHALL file and serve a pre-trial brief no later than August
30, 2024, which shall include the following: (a) proposed list of witnesses; (b) proposed list
of exhibits; (c) estimated length of case-in-chief and case-in-defense; (d) proposed non-
standard voir dire questions; and (e) proposed non-standard jury instructions related to the
elements of the charges and defenses; it is further
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        ORDERED that the parties SHALL provide the Clerk of Court with a USB Flash Drive
containing electronic versions of exhibits no later than September 4, 2024; 1 and it is further
        ORDERED that the Jury Selection and Trial in this matter previously scheduled for
July 8, 2024, are CONTINUED to commence promptly at 9:00 A.M. on September 9, 2024, in
St. Thomas Courtroom 1.

Dated: June 27, 2024                                        /s/ Robert A. Molloy
                                                            ROBERT A. MOLLOY
                                                            Chief Judge




1 Counsel are advised to consult with Court technical staff to determine the proper format for saving electronic

versions of exhibits. The Government’s trial exhibits shall be labelled sequentially beginning with Government’s
Exhibit 1. Defense exhibits shall be labelled sequentially beginning with Defense Exhibit A.
